Case 3:17-cv-05659-WHA Document 635 Filed 12/01/20 Page 1 of 1




       United States Court of Appeals
           for the Federal Circuit
                     ______________________

                          FINJAN, INC.,
                         Plaintiff-Appellant

                                 v.

                JUNIPER NETWORKS, INC.,
                     Defendant-Appellee
                   ______________________

                           2019-1837
                     ______________________

       Appeal from the United States District Court for the
    Northern District of California in No. , Judge William H.
    Alsup.
                     ______________________

                          MANDATE
                     ______________________

        In accordance with the judgment of this Court, entered
    October 20, 2020, and pursuant to Rule 41 of the Federal
    Rules of Appellate Procedure, the formal mandate is
    hereby issued.



                                      FOR THE COURT

     November 30, 2020                /s/ Peter R. Marksteiner
                                      Peter R. Marksteiner
                                      Clerk of Court
